Case 2:17-cv-00158-JRG-RSP Document 7 Filed 04/04/17 Page 1 of 2 PageID #: 45




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS LLC,                   §
                                   §
      Plaintiff,                   §                 Case No: 2:17-CV-158-JRG-RSP
                                   §
vs.                                §
                                   §
GARMIN INTERNATIONAL, INC. ,       §
                                   §
      Defendant.                   §
__________________________________ §

 MOTION TO DISMISS DEFENDANT GARMIN INTERNATIONAL, INC. WITHOUT
                           PREJUDICE

       Plaintiff Rothschild Connected Devices Innovations, LLC hereby moves to dismiss this

civil action without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Plaintiff notes that

Defendant has filed neither an answer nor a motion for summary judgment.

       Wherefore, Plaintiff requests that the Court dismiss Plaintiff’s claims against Defendant

Garmin International, Inc. without prejudice with each party to bear its own fees and costs.
Case 2:17-cv-00158-JRG-RSP Document 7 Filed 04/04/17 Page 2 of 2 PageID #: 46




Dated: April 4, 2017                        Respectfully submitted,

                                             /s/ Jay Johnson
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                                             ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on April 4, 2017


                                            /s/ Jay Johnson
                                            Jay Johnson
